
PATTERSON, Judge.
A.V.B. challenges his disposition upon revocation of community control for one count of battery, two counts of petit theft, and one count of indecent exposure. Upon revocation of community control, the court disposed of all offenses in one order. When multiple offenses constitute the basis for a delinquency adjudication, separate disposition orders for each offense must be used. See R.L.B. v. State, 703 So.2d 1245 (Fla. 5th DCA 1998); M.L.B. v. State, 673 So.2d 582 (Fla. 5th DCA 1996); T.A.R. v. State, 640 So.2d 222 (Fla. 5th DCA 1994). Thus, we reverse A.V.B.’s disposition order entered upon revocation of community control and remand for resentencing with separate disposition orders for each offense.
Reversed and remanded.
THREADGILL, A.C.J., and CASANUEVA, J., concur.
